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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:18-CR-00158 DAD
12                                 Plaintiff,            STIPULATION TO CONTINUE
                                                         SENTENCING; ORDER
13   v.
                                                         DATE: May 13, 2019
14   RODOLFO TORRES-GALVAN,                              TIME: 10:00 a.m.
                                                         JUDGE: Hon. DALE A. DROZD
15                                 Defendants.
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17
                                                 STIPULATION
18
            COMES NOW, Defendant, Rodolfo Torres-Galvan, by and through his attorney of record,
19
20 Monica L. Bermudez and The United States of America, by and through its counsel of record hereby

21 stipulate as follows:

22          1.      By previous order, this matter was set for sentencing on Monday April 29, 2019.
23
            2.      By this stipulation, defendants now move to vacate the sentencing and set this matter
24
     for sentencing on May 13, 2019 at 10:00 a.m. before the Honorable Dale A. Drozd, and to exclude
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     time between the date of this stipulation and May 13, 2019 under 18 U.S.C. §§ 3161(h)(7)(A) and
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     3161(h)(7)(B)(i), (ii) and (iv). The government joins in this request.
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28          3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      Counsel for Mr. Torres-Galvan needs additional time to discuss the final presentence
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     investigation report with her client and prepare a sentencing memorandum on her client’s behalf.
 2

 3          b.      The government does not object to, and agrees with, the requested continuance.

 4          c.      Based on the above-stated findings, the ends of justice served by continuing the case
 5 as requested outweigh the interest of the public and the defendant in a trial within the original date

 6
     prescribed by the Speedy Trial Act.
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            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
 8
     seq., within which trial must commence, the time period of the date of this stipulation to May 13,
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10 2019, inclusive, is deemed excludable pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i),

11 (ii) and (iv) because it results from a continuance granted by the Court at defendants’ request on the

12 basis of the Court's finding that the ends of justice served by taking such action outweigh the best

13 interest of the public and the defendants in a speedy trial.

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            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
15
     the Speedy Trial Act dictate that additional time periods are excludable from the period within which
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     a trial must commence.
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18 IT IS SO STIPULATED.

19 DATED: April 24, 2019
20                                         /s/ Monica L. Bermudez
                                           MONICA L. BERMUDEZ
21                                         Counsel for Defendant
                                           RODOLFO TORRES-GALVAN
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24 DATED: April 24, 2019
                                           /s/Karen Escobar
25                                         KAREN ESCOBAR
                                           Assistant United States Attorney
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                                              ORDER
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 2        The sentencing hearing currently scheduled for April 29, 2019 is continued to May 13, 2019
 3 at 10:00 am.

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 5 IT IS SO ORDERED.

 6     Dated:     April 25, 2019
                                                   UNITED STATES DISTRICT JUDGE
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